
PER CURIAM.
We have for review Cook v. State, 582 So.2d 159, 159 (Fla. 4th DCA 1991), in which the Fourth District Court of Appeal certified the following question of great public importance:
DO FLORIDA’S UNIFORM SENTENCING GUIDELINES REQUIRE THAT LEGAL CONSTRAINT POINTS BE ASSESSED FOR EACH OFFENSE COMMITTED WHILE UNDER LEGAL CONSTRAINT?
We have jurisdiction pursuant to article V, section 3(b)(4) of the Florida Constitution. In Flowers v. State, 567 So.2d 1055 (Fla. 5th DCA 1990), we answered this same question in the negative. Accordingly, we quash the decision below and remand for reconsideration consistent with our opinion in Flowers.
It is so ordered.
SHAW, C.J., and OVERTON, McDonald, barkett, grimes, KOGAN and HARDING, JJ„ concur.
